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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


 HUMANE CONSUMER LLC,

                                  Plaintiff,           Civil Action No.: 18-civ-05622
                                                       (PKC)
 v.

 COB ECOMMERCE EMPIRE LLC d/b/a
 KEEVA ORGANICS, CRAWFORD AND
 O’BRIEN LLC, CHARLES CRAWFORD,
 MICHAEL O’BRIEN AND AMAZON.COM,
 INC.,

                                  Defendants.


 COB ECOMMERCE EMPIRE LLC d/b/a
 KEEVA ORGANICS,

                    Defendant/Third Party Plaintiff,

 v.

 MICHAEL KIM,

                           Third Party Defendant.




 COB ECOMMERCE EMPIRE LLC d/b/a
 KEEVA ORGANICS, et al.,


             Defendant/Counterclaim Plaintiff,

 v.

 HUMANE CONSUMER LLC,


             Plaintiff/Counterclaim Defendant.



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                         NOTICE OF APPEARANCE OF COUNSEL

         PLEASE TAKE NOTICE that Ira S. Sacks, Esq. of Akerman LLP, hereby appears as

counsel in this case for Plaintiff and Counterclaim Defendant HUMANE CONSUMER LLC and

Third Party Defendant MICHAEL KIM.

         I am admitted or otherwise authorized to practice in this Court, and I hereby request that

all orders, pleadings, and other documents filed or served in this action be served on me at the

address listed below.

Dated: New York, NY
       November 30, 2018                              Respectfully submitted,
                                                      AKERMAN LLP

                                                      s/ Ira S. Sacks
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                                                      Attorneys for Plaintiff and Counterclaim
                                                      Defendant Humane Consumer LLC and
                                                      Third Party Defendant Michael Kim




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